                                       EXHIBIT A
 
    Defendant / Doe No.    Store Name / Seller Name        Merchant Id / Seller ID
             1                  Custom Tee Shirt                  1161921 
             2                 Radiance SS Store                  2389058 
             3                  Cheap Shirt Store                 2955094 
             4                   gengshirt Store                  3216155 
             5                    Ali-Ya Store                    3244071 
             6                FlatEarth Sexy Store                3626117 
             7                   harajukus Store                  3683002 
             8                   amy tshirt Store                 3684075 
             9                  DNA Skull Store                   3851034 
            10                  linkteelink Store                 3900034 
            11                 Shop4037104 Store                  4037104 
            12                 Shop4240001 Store                  4240001 
            13                    Brown Store                     4382095 
            14                  confidence Store                  4388029 
            15                  fanyu6541 Store                   4397064 
            16                 Shop4401081 Store                  4401081 
            17                 Shop4402058 Store                  4402058 
            18                    wanqiu Store                    4404058 
            19                  Crazyworld Store                  4404101 
            20                  mumu yoo Store                    4406011 
            21                 future-knights Store               4406072 
            22                    tuoxie Store                    4416086 
            23                   huanggu Store                    4416102 
            24                 Shop4416208 Store                  4416208 
            25                 cuper happy1 Store                 4417013 
            26                   mumu o Store                     4420003 
            27                  xiaoxiaomu Store                  4420044 
            28               SanLe-MIMItops Store                 4422015 
            29                   dazha o Store                    4430002 
            30                 Shop4431215 Store                  4431215 
            31                     Zi Yi Store                    4432060 
            32                    chencc Store                    4432074 
            33                    luli123 Store                   4434059 
            34                   888Tees Store                    4434167 
            35                    Shuang Store                    4435006 
            46                jinhui fashion trade       53f7074a1c105e2e09c92094
            47             yiwu xiaoyin fashion trade     53fee7f2104dae0864e6f194
            48                  luqianlai fashion        540b21977a9eb43980921661
            49                    qiuyu fashion           540c31397f086e6cc0c6522c
                                     EXHIBIT A
 

    Defendant / Doe No.   Store Name / Seller Name       Merchant Id / Seller ID

            50                  zhenen fashion         540d092a7a9eb43977922a8e
            51                jiangkeyu fashion        54152033f8abc87983772dfa
            52                 lijunying fashion       5416a9d482b9ac45de73e88d
            53              xuchengguo fashion          541ce6407541ce355268ffb6
            54                 qijujjh shopping        541e2aa382b9ac03b043a270
            55                Vienna tide shops        55346dc2b6633f0c05ea398b
            56                       shao‐polo         5566e719644c2819bc063939
            58                       hhtc store        56eb7d6aebdaac6b40e3539c
            59                        vincent2         57d56f27241d454a26169f21
            60                Good friend trade        57d753a3d36a2a095724d360
            61                     tengwangge           57fa66ca23358f21cb7a13bd
            62                        yqiktore         581ebc7ac96e4b1b88a23ea4
            63                    southfeather         5821425b4199ad758cf84ebe
            66                    Mai Duo Duo          58984338c743f7594a05587a
            68                  anhuiheyicoltd         58abab223fcda550e562759a
            69                        kang668          58bec8913804584849276625
            70            The fashion show uprising     58c4bae2ffcbce5101860c01
            71               Fashionable feeling        58c65e3dfdf42551001c2f49
            72                         Skyroof         58c8ab3091743e5075f206f3
            73                     sjqqfashion          58cfb43119bf8b506f30fa81
            74                   yiyingbangong         58d906bc0f8a5852b3234136
            75                       dream15           58f2043e8a60c32056305d4e
            76                        linlin135         58fafc2feb16272bfc7725a8
            77                          tagirl         591db9121d7eca4b5856b73d
            79                      chenxuexia         592e59514e43b36cb5bbfc20
            80                         Yorfans          594346948635f016ef76df67
            82                   wenwennvxie            596f1ad7c250815bfdeffc2b
            83                 popfashionshop          5975d27fb771735f68775d46
            84                 nanshannanbian          597ed8d3ae228e7227abd53c
            85                   pingzhifalmily        598083968ee78d07c44d1aaf
            87                        xierujun         59ae41cc8696be3a45ab4dbc
            88                   ds402977373           59aec736eea5c55e8623fb88
            89                        zengjiezj         59df31d7dd032915ff639a7b
            90                        jiechuliu        5a22d6ce3eb22a4b578e957d
            92                          Hepix          5a67fb69ddda8c3a5a62c198
            93                    zhanghua567          5a9697d1856edf1b07d45577
            94                      zhangjinxiu        5a9d0e30c3911a22e15df7c0
            96                    wangyunping          5aa64da5b125ab3b32cd8454
                                       EXHIBIT A
 
    Defendant / Doe No.     Store Name / Seller Name        Merchant Id / Seller ID 
            97                          sjyhdsxc          5aab6399aac71f7d93bdf5e0
            98                        litingting55        5aaf8061c1d5181e1aeb5d6f
           100                          dabrytao          5ab11c6247a0e75d62e24508
           101                      linshan90807          5ab26e6a9c15ff16d9558e86
           103                         Neartimes          5ab9c1e475599a19e420c26b
           104                          lxfhahah          5abe699f9722330d2ee8ef2d
           105                 huangningjiewangdian        5ac1ece9a71fbf36a859e0f3
           106                     RoseClothesCo           5ac4c8acc2c8925bbeef9d22
           107                      suiyuejingran          5ac592101b98df4f227f2aa3
           108                       wangling119          5ac61144856edf6dcd038363
           109                     shishuangyan           5acc5b589bda4e2ceda9aee9
           110                    juan juan world         5acc87a575599a4d5d14017a
           111                      ZHANGDEQI5            5acd8d23184354713ea2aef1
           112                         sdawmeet           5ad00d1c7c276862c9592210
           113                          litianpen         5ad027da5ebcfd6d2fbc96e4
           114                     pwbnghsqqm             5ad14bc26be87374bf5ad1f6
           115                        shanwei66           5ad165155ebcfd26899ed8ae
           116                           huanjie          5ad1868cc3911a095cdd2f92
           117                          huanyuqi          5ad1a495cd968d4ef6097940
           118                        cuishaolian         5ad1b678ea87643121f718e1
           119                         dawoonga           5ad2e21947a0e75be5f2769a
           120                   aonesuperfashion         5ad55b06856edf48572694f3
           121                     zhujingjing888         5ae3f1062c49567a8bed8e5c
           122                         charihong          5ae58b581baafe1e1931a445
           123                       caodingyuan           5ae696bfb722cf53a49f450a
           124                        guowenyan           5aebeaae3b527c679f37c4de
           125                    gengduoFA1xin           5afa94f2a974421e0155ec39
           126                        woaiwoxiu           5b00dbaff853f426b74740d2
           127                       MOONyichu            5b078caa223c402272dd0e21
           128              jinxiangmeilihuazhuangpin     5b124eb27752c85b05836c58
           129             MVKOFQ women's clothes shop    5b39bc138584ad2b132bac7d
           130                     dnwihid3hedf            5b3cb1998d2c712f140dfcc9
 
